Case 2:04-cr-20140-.]PI\/| Document 178 Filed 05/27/05 Page 1 of 4 Page|D 235

IN THE UNITED sTATEs DISTRICT coURT F"~ED 3 _ § *3»*-'3-
FOR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN VJSH..-":~.`F' 27 F’?~i 2106

 

 

U'NI'I`ED STATES OF' AMERICA
Plaintiff,

V.

@HK:$'WHER _D_ Mzuy/
ANT;'-MN`/ |YMC|<
Nl¢H'L'/\F mem

Criminal No./i* 2" ,L/@Ml

(EO-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the June
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on FridaV, JulV 22, 2005, with trial to take place on
the August, 2005, rotation calendar with the time excluded under

the Speedy Trial Act through August 12, 2005. Agreed in open

court at report date this 27ch day Of MaY' 2005' l
Thls document entered on the dockets ` /l
with Ru|e 55 and/or 32{b) FRCrP on \
/

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so oRDERED this 27th day of May, 2005.

@… 02@

JON PHIPPS MCCALLA
UNI TED STA'I`ES DISTRICT JUDGE

 

§}w\-,RAW‘~

4~>/ R ARV'N

Assistant United States Attorney

%#{Tw>z§ 61»//10/.,\/, ON%CB
312/§in

Counsel for Defendant(s)

 

 

 

UNITED `SATES DISTRIC COUR - WTERN DSTRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 178 in
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Honorable .1 on McCalla
US DISTRICT COURT

